          Case 1:18-cv-01551-ESH Document 90 Filed 04/29/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.,

                   Plaintiffs,

    vs.                                            Civil Action No. 18-1551 (ESH)

  DEPARTMENT OF THE ARMY, et al.,

                   Defendants.


                                 DEFENDANTS’ STATUS REPORT

       In accordance with the Court’s Order entered on August 13, 2018 (ECF No. 23),

Defendants respectfully submit this bi-weekly status report. There is no change to the status

report submitted by Defendant on April 1, 2019 (ECF No. 84). As of the date of this report, no

administrative separations have been initiated pursuant to the Army’s October 26, 2018 policy

memorandum.

Dated: April 29, 2019                        Respectfully submitted,

                                             JESSIE K. LIU, D.C. Bar # 472845
                                             United States Attorney

                                             DANIEL F. VAN HORN, D.C. Bar # 924092
                                             Chief, Civil Division

                                        BY: /s/ Roberto C. Martens, Jr.
                                            ROBERTO C. MARTENS, JR.
                                            Special Assistant United States Attorney
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                                             Attorneys for Defendants
         Case 1:18-cv-01551-ESH Document 90 Filed 04/29/19 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I certify that on this 29th day of April 2019, I served the foregoing Defendants’ Status

Report upon counsel for Plaintiffs by filing said document using the Court’s Electronic Case

Filing System.

Dated: April 29, 2019                         /s/ Roberto C. Martens, Jr.
                                              ROBERTO C. MARTENS, JR.
                                              Special Assistant United States Attorney




 




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